Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 1 of 34 PageID #: 616



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 KAAVOINC.,                                   )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )       Civil Action No. 14-1192-LPS-CJB
                                              )
 COGNIZANT TECHNOLOGY                         )
 SOLUTIONS CORPORATION,                       )
                                              )
                Defendant.                    )

 KAAVO INC.,                                  )
                                              )
                Plaintiff,                    )
                                              )
        ~                                     )       Civil Action No. 14-1193-LPS-CJB
                                       )'
 TIER 3, INC., APPFOG, INC. and SAVVIS )
 COMMUNICATIONS CORPORATION, )
                                       )
               Defendants.             )


                             REPORT AND RECOMMENDATION

        Presently pending before the Court are a motion to dismiss for failure to state a claim

 pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, filed by Defendants Tier 3,

 Inc. ("Tier 3"), AppFog, Inc. ("AppFog"), and Savvis Communications Corporation ("Savvis"),

 and a motion for judgment on the pleadings pursuant to Rule 12(c), filed by Defendant Cognizant

 Technology Solutions Corporation ("Cognizant"). (D.I. 19; 1 D.I. 14, Civil Action No. 14-1192-

 LPS-CJB) Defendants argue that all of the claims of Plaintiff Kaavo Inc.'s ("Plaintiff') United



                 Defendant Cognizant adopted the arguments made in the other Defendants' briefs,
 adding only a few additional unique arguments of its own to those made by Tier 3, AppFog and
 Savvis. (D.I. 14 at 2, Civil Action No. 14-1192-LPS-CJB) For this reason, citations herein are
 to the docket in Civil Action No. 14-1193-LPS-~JB unless otherwise noted.
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 2 of 34 PageID #: 617



 States Patent No. 8,271,974 (the '"974 patent") are directed to non-patent-eligible subject matter

 pursuant to 35 U.S.C. § 101("Section101"). For the reasons that follow, the Court recommends

 that Defendants' motions (the "Motions") be GRANTED-IN-PART and DENIED-IN-PART.

 I.     BACKGROUND

        A.      Factual Background

        The '974 patent is entitled "Cloud Computing Lifecycle Management for N-tier

 Applications." (D.I. 26, ex. A (the "'974 patent") at 1) According to its Abstract, the patent

 relates to "[m]ethods, devices, and systems for management of a cloud computing environment

 for use by a software application." (Id.)

        As set forth in the patent, a cloud computing environment consists of resources, such as

 datacenters, that are operated by a cloud provider. (Id., col. 1:21-29) Those resources are used to

 provide users with access to applications or services, such as "web portal[ s] with email

 functionality, database programs, word processing programs, accounting programs, inventory

 management programs, [or] numerical analysis programs[.]" (Id., cols. 1:21-29, 5: 12-21)

        The cloud computing environments set forth in the patent are described as "N-tier

 computing environment[s]." (Id., col. 1:56-57) An "N-tier" cloud computing environment is

 described in the specification as one that includes multiple tiers, where each tier performs a

 particular function, and each tier may be made up of multiple servers (which may be virtual2 or

 physical servers, and which may be located in multiple different datacenters). (Id., cols. 3:47-49

 (describing "server" as used in the patent), 5 :22-51) One example of such a system is shown in



        2
                As described in one portion of the patent, a "virtual" computer system is one that
 does not directly correspond to a physical system. ('974 patent, col. 16:52-53)

                                                  2
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 3 of 34 PageID #: 618



 Figure 3:




       301



      302
                  SYSTEM
                    1!l




                    309




                                             FIG. 3


 (Id, col. 10:21-51) Figure 3 reflects a cloud environment that includes several tiers, identified as

 304, 305, and 306. (Id, col. 10:38-40) In this possible configuration, the embodiment's tiers

 include a load balancer (304), an application server cluster (305), and a database cluster (306). 3

 (Id, col. 10:40-46) The application server and database clusters each include servers from two

 different datacenters. (Id) The tiers are interconnected, and the user can customize the security

 between the tiers. (Id, col. 10:38-51) Figure 3 also shows System 10, a computer that is used to

 manage the cloud environment, (id, col. 10:21-25), and box 309, which represents remote users

 who access the application (such as a web site) that is hosted by the cloud environment, (id., col.



        3
                 The computer identified as 307 is a monitoring module that monitors the tiers.
 ('974 patent, cols. 10:47-49, 14:19-33)

                                                   3
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 4 of 34 PageID #: 619



 10:31-33).

            B.     Procedural Background

            Plaintiff initiated these two actions on September 15, 2014. (D.I. 1) On September 19,

 2014, Chief Judge Leonard P. Stark referred the cases to this Court to resolve any and all matters

 with regard to scheduling, as well as any motions to dismiss, stay and/or transfer venue. (D.I. 5)

            In Civil Action No. 14-1192-LPS-CJB, Cognizant filed its Rule 12(c) motion on February

 3, 2015. (D.I. 14, Civil Action No. 14-1192-LPS-CJB) In Civil Action No. 14-1193-LPS-CJB,

 after Plaintiff filed an Amended Complaint on January 8, 2015, (D.I. 15), and a Second Amended

 Complaint on January 16, 2015, (D.I. 18), Tier 3, AppFog and Savvis filed the pending Rule

 12(b)(6) motion on February 2, 2015, (D.I. 19). Briefing was completed on the Motions on

 March 2, 2015, (D.I. 29), and oral argument was held on May 27, 2015, (D.I. 41 (hereinafter,

 "Tr.")).

            The Court held a Case Management Conference in both cases on March 23, 2015. (D .I.

 35) Thereafter, it granted a motion to stay filed by Defendants, (D.I. 21), staying both actions

 pending resolution of the Motions, (D.I. 38).

 II.        LEGALSTANDARDS

            A.     Standard of Review Regarding a Rule 12 Motion that Challenges Patent
                   Eligibility Pursuant to Section 101

            Pursuant to Rule 12(b)(6), a party may move to dismiss the plaintiffs complaint based on

 the failure to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). 4 The


            4
               The standard for review of a Rule 12(c) motion for judgment on the
 pleadings-the type of motion that Cognizant has filed here-is the same as that for deciding the
 Rule 12(b)(6) motion to dismiss filed by Tier 3, AppFog and Savvis. See Merck Sharp & Dahme
 Corp. v. Teva Pharms. USA, Inc., C.A. No. 14-874-SLR-SRF, 2015 WL 4036951, at *5 (D. Del.

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 5 of 34 PageID #: 620



 sufficiency of pleadings for non-fraud cases is governed by Federal Rule of Civil Procedure 8,

 which requires "a short and plain statement of the claim showing that the pleader is entitled to

 relief[.]" Fed. R. Civ. P. 8(a)(2). In order to survive a motion to dismiss pursuant to Rule

 12(b)(6), "a complaint must contain sufficient factual matter, accepted as true, to state a claim to

 relief that is plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

 quotation marks and citation omitted). In assessing the plausibility of a claim, the court must

 "construe the complaint in the light most favorable to the plaintiff, and determine whether, under

 any reasonable reading of the complaint, the plaintiff may be entitled to relief." Fowler v. UPMC

 Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (internal quotation marks and citation omitted).

          Here, however, the Rule 12(b)(6) motion is used to assert an affirmative defense.

 Specifically, Defendants assert that Plaintiff failed to allege infringement of a patentable claim

 pursuant to Section 101. (D .I. 19) In that scenario, dismissal is permitted only if the

 well-pleaded factual allegations in the Complaint, construed in the light most favorable to the

 plaintiff, suffice to establish the defense. See Jones v. Bock, 549 U.S. 199, 215 (2007); Kabba} v.

 Google, Inc., Civ. No. 13-1522-RGA, 2014 WL 1369864, at *2 n.2 (D. Del. Apr. 7, 2014); see

 also Genetic Techs. Ltd v. Agilent Techs., Inc., 24 F. Supp. 3d 922, 927 (N.D. Cal. Mar. 7,

 2014).

          Patentability under Section 101 is a "threshold inquiry" and a question of law. In re

 Bilski, 545 F.3d 943, 950-51 (Fed. Cir. 2008), aff'd, Bilski v. Kappas, 561 U.S. 593 (2010). Yet

 this question of law is also one that "may be informed by subsidiary factual issues." CyberFone


 July 1, 2015); see also (D.I. 14 at 2 n.1, Civil Action No. 14-1192-LPS-CJB). Thus, below, the
 Court will not further distinguish between Cognizant's Rule 12(c) motion and the other
 Defendants' Rule 12(b)(6) motion.

                                                   5
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 6 of 34 PageID #: 621



 Sys., LLC v. Cellco P'ship, 885 F. Supp. 2d 710, 715 (D. Del. 2012) (citing In re Comiskey, 554

 F.3d 967, 976 (Fed. Cir. 2009)). Some judges of the United States Court of Appeals for the

 Federal Circuit have suggested that "any attack on an issued patent based on a challenge to the

 eligibility of the subject matter must be proven by clear and convincing evidence[,]" CLS Bank

 Int'l v. Alice Co. Pty. Ltd., 717 F.3d 1269, 1304-05 (Fed. Cir. 2013) (Rader, J., concurring-in-

 part and dissenting-in-part), but at least one other member of that Court has come to the opposite

 conclusion, see Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 720-21 (Fed. Cir. 2014)

 ("Ultramercial 11!') (Mayer, J., concurring). All of this has led to some uncertainty regarding the

 appropriate standard of proof in Section 101 cases. See Intellectual Ventures I LLC v. Symantec

 Corp., 100 F. Supp. 3d 371, 379-80 (D. Del. 2015) (citing cases). However, even to the extent

 that the "clear and convincing" standard of proof is applicable to Section 101 challenges, it

 would apply only to the resolution of factual disputes, and not to resolution of pure issues of law.

 See TriPlay, Inc. v. WhatsApp Inc., Civil Action No. 13-1703-LPS, 2015 WL 1927696, at *3-5

 (D. Del. Apr. 28, 2015) (citing cases), adopted in all substantive respects, 2015 WL 4730907 (D.

 Del. Aug. 10, 2015); see also Affinity Labs ofTex., LLC v. Amazon.com, Inc., No.

 6:15-CV-0029-WSS-JCM, 2015 WL 3757497, at *5 (W.D. Tex. June 12, 2015). And as to the

 instant Motions, filed at the pleading stage (a stage at which any facts that might be in dispute are

 to be construed in the light most favorable to the plaintiff), the "clear and convincing" standard

 of proof should not come into play at all. See Blue Spike, LLC v. Google, Inc., Case No. 14-cv-

 01650-YGR, 2015 WL 5260506, at *4 (N.D. Cal. Sept. 8, 2015); Shortridge v. Found. Constr.

 Payroll Serv., LLC, Case No. 14-cv-04850-JCS, 2015 WL 1739256, at *7 (N.D. Cal. Apr. 14,

 2015); Modern Telecom Sys. LLC v. Earth/ink, Inc., No. SA CV 14-0347-DOC, 2015 WL


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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 7 of 34 PageID #: 622



 1239992, at *7-8 (C.D. Cal. Mar. 17, 2015). 5

        B.      Need for Claim Construction

        There is no hard-and-fast rule that a court must construe terms in the claims at issue

 before it performs a Section 101 analysis. Bancorp Servs., L.L.C. v. Sun Life Assur. Co. of

 Canada (US.), 687 F.3d 1266, 1273-74 (Fed. Cir. 2012) ("[W]e perceive no flaw in the notion

 that claim construction is not an inviolable prerequisite to a validity determination under

 [Section] 101."). In some cases, claim construction is unnecessary. See, e.g., Cyberfone Sys.,

 LLCv. CNN Interactive Grp., Inc., 558 F. App'x 988, 992-93 & n.1 (Fed. Cir. 2014) (holding

 that a patent claim was subject matter ineligible under Section 101, where the district court did

 not engage in claim construction, and where the plaintiff "d[id] not explain which terms require

 construction or how the analysis would change"). In other cases, such as when a Section 101

 motion would be well-taken even were a plaintiff's proposed claim construction to be accepted, a

 court may adopt the plaintiff's construction (or the construction most favorable to the plaintiff)

 for the purposes of the motion. See Content Extraction & Transmission LLC v. Wells Fargo

 Bank, Nat'! Ass'n, 776 F.3d 1343, 1349 (Fed. Cir. 2014); Genetic Techs. Ltd. v. Lab. Corp. of

 Am. Holdings, Civil Action No. 12-1736-LPS-CJB, 2014 WL 4379587, at *5-6 (D. Del. Sept. 3,

 2014) (citing cases). Alternatively, if the Court determines that formal claim construction is



        5
                 In its answering brief, Plaintiff relies on the Federal Circuit's opinion in
 Ultramercial, Inc. v. Hutu, LLC, 722 F.3d 1335 (Fed. Cir. 2013) ("Ultramercial If'), in part to
 set out the appropriate standard of review. (D.I. 26 at 5, 14, 19, 20) That opinion has been
 vacated, however, and the Federal Circuit's subsequent opinion in the case reversed its prior
 decision in Ultramercial II. Ultramercial III, 772 F.3d at 711-12, cert. denied sub nom.,
 Ultramercial, LLC v. WildTangent, Inc., 135 S. Ct. 2907 (2015). As such, Ultramercial I!Iacks
 precedential effect, and the Court will not consider it here. See TriPlay, Inc., 2015 WL 1927696,
 at *4 n.3 (describing the differences between these Ultramercial decisions).

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 8 of 34 PageID #: 623



 necessary, it may decline to rule on a Rule 12 motion prior to engaging in claim construction,

 see, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 834-35 (E.D.

 Tex. 2014) (Bryson, J., sitting by designation), or it may deny the motion without prejudice to the

 movant' s ability to renew it as a summary judgment motion after claim construction proceedings

 have concluded, see Execware, LLC v. BJ's Wholesale Club, Inc., C.A. No. 14-233-LPS, 2015

 WL 5734434, at *2-3 (D. Del. Sept. 30, 2015).

        C.      Considerations Relevant to Deciding a Rule 12 Motion that Challenges the
                Eligibility of Multiple Patent Claims, Based on the Analysis of a Single
                Representative Claim

        In Cronos Techs., LLC v. Expedia, Inc., C.A. No. 13-1538-LPS, 2015 WL 5234040 (D.

 Del. Sept. 8, 2015), our Court noted "several considerations relevant to deciding a Rule 12

 motion that challenges the patent eligibility of multiple patent claims based on analysis of a

 single representative claim." 2015 WL 5234040, at *2. The Cronos Court set out these

 considerations as follows:

                First, are all non-representative claims adequately represented by
                the representative claim (i.e., do all of the challenged claims relate
                to the same abstract idea and do any of the non-representative
                claims add one or more inventive concepts that would result in
                patent eligibility)? Second, are there issues of claim construction
                that must be decided before resolving the motion? Finally, is there
                any set of facts that could be proven relating to preemption,
                questions of patentability, or whether the claims "solve a
                technological problem," that would result in a determination that
                one [] or more of the claims are patent-eligible?

 Id (citations and footnotes omitted) (certain emphasis in original); see also Execware, 2015 WL

 5734434, at *2.

 III.   DISCUSSION



                                                  8
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 9 of 34 PageID #: 624



        A.         Patentable Subject Matter

        Patent-eligible subject matter is defined in Section 101 of the Patent Act:

                   Whoever invents or discovers any new and useful process, machine,
                   manufacture, or composition of matter, or any new and useful
                   improvement thereof, may obtain a patent therefor, subject to the
                   conditions and requirements of this title.

 35 U.S.C. § 101. In choosing such expansive terms "modified by the comprehensive 'any,'

 Congress plainly contemplated that the patent laws would be given wide scope." Diamond v.

 Chakrabarty, 447 U.S. 303, 308 (1980).

        Yet while the scope of Section 101 is broad, there is an "important implicit exception [to

 it]: [l]aws of nature, natural phenomena, and abstract ideas are not patentable." Alice Corp. Pty.

 Ltd v. CLS Bank Int'!, 134 S. Ct. 2347, 2354 (2014) (internal quotation marks and citation

 omitted); see also Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1293

 (2012). "Phenomena of nature, though just discovered, mental processes, and abstract

 intellectual concepts are not patentable, [because] they are the basic tools of scientific and

 technological work." Prometheus, 132 S. Ct. at 1293 (quoting Gottschalk v. Benson, 409 U.S.

 63, 67 (1972)).

        The Supreme Court of the United States has also recognized, however, that "too broad an

 interpretation ofthis exclusionary principle could eviscerate patent law." Id.; see also Alice, 134

 S. Ct. at 2354. This is because "all inventions at some level embody, use, reflect, rest upon, or

 apply laws of nature, natural phenomena, or abstract ideas." Prometheus, 132 S. Ct. at 1293; see

 also Alice, 134 S. Ct. at 2354. To that end, it has explained that "an application of a law of

 nature, [natural phenomena or abstract idea] to a known structure or process may well be



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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 10 of 34 PageID #: 625



  deserving of patent protection." Diamond v. Diehr, 450 U.S. 175, 187 (1981) (emphasis in

  original).

          In terms of the process used to analyze patent eligibility under Section 101, the Federal

  Circuit has explained that a court should first identify whether the claimed invention fits within

  one of the four statutory classes set out in the statute: processes, machines, manufactures, and

  compositions of matter. Ultramercial III, 772 F.3d at 713-14. The court must then assess

  whether any of the judicially recognizable exceptions to subject matter eligibility apply,

  including whether the claims are to patent-ineligible abstract ideas. Id at 714. 6

          In Alice, the Supreme Court confirmed the framework to be used in order to distinguish

 patents that claim laws of nature, natural phenomena, and abstract ideas from those that claim

 patent-eligible applications of those concepts:

                 First, we determine whether the claims at issue are directed to one
                 of those patent-ineligible concepts. . . . If so, we then ask, "[w ]hat
                 else is there in the claims before us?" ... To answer that question,
                 we consider the elements of each claim both individually and "as an
                 ordered combination" to determine whether the additional elements
                 "transform the nature of the claim" into a patent-eligible
                 application.... We have described step two of this analysis as a
                 search for an '"inventive concept"'-i. e., an element or
                 combination of elements that is "sufficient to ensure that the patent
                 in practice amounts to significantly more than a patent upon the
                 [ineligible concept] itself."

 Alice, 134 S. Ct. at 2355 (quoting Prometheus, 132 S. Ct. at 1294-98) (citations omitted;

 alterations in original); see also Parker v. Flook, 437 U.S. 584, 594 (1978). Since Alice, the

 Federal Circuit has recognized that "[d]istinguishing between claims that recite a patent-eligible


          6
                With regard to the instant Motions, it is not disputed that the claims at issue fit
 within one of the four statutory classes set out in Section 101, and so the entirety of the Court's
 analysis below will be on whether the claims are to patent-ineligible abstract ideas.

                                                   10
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 11 of 34 PageID #: 626



  invention and claims that add too little to a patent-ineligible abstract concept can be difficult, as

  the line separating the two is not always clear." DDR Holdings, LLC v. Hotels.com, L.P., 773

  F.3d 1245, 1255 (Fed. Cir. 2014).

         B.      Claim 1

         The Court will first examine claim 1 of the '974 patent, which Defendants assert is

  substantially identical to the remaining three independent claims. (D.1. 20 at 18) Claim 1 covers:

                 1. A method for managing a cloud computing environment for use
                 by a software application comprising:
                     [(1)] determining a requested initial cloud environment based
                         on user-defined provisioning information, where the
                         requested initial cloud environment is not yet instantiated
                         and is an N-tier computing environment;
                     [(2)] sending an initialization event based on the requested
                         initial cloud environment, where the initialization event is
                         configured to cause an initial cloud environment
                         configuration to be made available to an application;
                     [(3)] sending application data that is configured to cause the
                         application to begin execution in the initial cloud
                         environment configuration;
                     [(4)] receiving monitoring environment data that represents a
                         current cloud environment state;
                     [(5)] determining a requested adjusted cloud environment
                         based on the monitoring environment data, where the
                         requested adjusted cloud environment is an N-tier
                         computing environment; and
                     [(6)] sending a cloud environment adjustment event based on
                         the requested adjusted cloud environment, where the cloud
                         environment adjustment event is configured to cause an
                         adjusted cloud environment configuration to be made
                         available to the application.

 ('974 patent, col. 18:44-67) The claim thus describes a method for managing a cloud computing

 environment for use by a software application that is composed of six steps.

                 1.      Alice's Step One



                                                   11
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 12 of 34 PageID #: 627



         The first step of the analysis is to determine whether the claim is "directed to [a] patent-

  ineligible concept[]"-in this case, an abstract idea. Alice, 134 S. Ct. at 2355; Ultramercial III,

  772 F.3d at 714. Defendants assert that claim 1 is directed to an abstract idea, and they frame

 that idea as the concept of "setting up and managing a computing environment." (D.I. 20 at 7;

 Tr. at 11; see also D.I. 14 at 3, Civil Action No. 14-1192-LPS-CJB (Cognizant asserting that the

 claims can be seen as directed to "the long-known idea of resource management in a computing

 environment")) 7 Defendants liken the elements of the claim to "general and long-known

 concept[ s]" within the area of computer resource management: "a specific set of resources is

 selected; after the resources are deployed, data representing the status of those resources is

 received; and based on the status of deployed resources, adjustments are made." (D.I. 20 at 8)

         Is "setting up and managing a computing environment"-or, more accurately is it relates

 to this claim and this patent, "setting up and managing a cloud computing environment"-an


         7
                  Defendants, at times, suggest in their briefing that the abstract idea at issue should
 be framed in an even more broad way. For example, Defendant Cognizant offers that the
 patent's claims "can also be viewed as being directed to the abstract idea of managing a network
 environment"-an idea that it says could have been implicated in the management of "a
 telegraph network of the 1860s, a telephone network of the 1950s, or the public internet network
 that existed long before the '974 patent was filed[.]" (D.I. 14 at 3, Civil Action No. 14-1192-
 LPS-CJB) And Defendants AppFog, Tier 3 and Savvis occasionally articulated the abstract idea
 at issue as "the conventional business practice of a resource management process" or the
 "fundamental practice of managing resources"-one utilized in the areas of"hotel manage[ment]
 ... management of an assembly line process, warehouse facilit[ies] and many other
 circumstances[.]" (D.I. 20 at 1, 8) The Court agrees with Plaintiff, (D.I. 26 at 9), that to frame
 the abstract idea in these broad ways would be overly simplistic. The claims (and indeed, the
 patent) are all about cloud computing environments and ways of managing cloud computing
 environments; claim 1 itself includes multiple references to terms that relate to computing (and
 not, for example, to the use of the telegraph or to hotel management). To say that claim 1 could
 be directed to an abstract idea that is divorced from management of a computing environment
 would be wrong, as it would stray too far from the actual wording of the claim. (Tr. at 8-9
 (counsel for Defendants AppFog, Tier 3 and Savvis ultimately stating at oral argument that the
 abstract idea should be framed as "setting up and managing a computing environment"))

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 13 of 34 PageID #: 628



 abstract idea in the first place? The Supreme Court has explained that the '"abstract ideas'

 category embodies 'the longstanding rule that [a]n idea of itself is not patentable."' Alice, 134 S.

 Ct. at 2355 (quoting Gottschalk, 409 U.S. at 67) (certain quotation marks omitted). The abstract

 idea can be, but need not amount to, a "'preexisting, fundamental truth[]"' about the natural

 world "that has always existed[,]" or a "method of organizing human activity" (such as a

 "longstanding commercial practice"). Id at 2356-57 (internal quotation marks and citations

 omitted); see also DDR Holdings, 773 F.3d at 1256; cf CLS Bank, 717 F.3d at 1286 (explaining

 that a claim directed to an abstract idea is one directed to a "disembodied concept ... a basic

 building block of human ingenuity, untethered from any real-world application") (internal

 quotation marks and citation omitted). Beyond that, the concept of an "abstract idea" has not

 been crisply defined. Alice, 134 S. Ct. at 2357 (declining to "labor to delimit the precise contours

 of the 'abstract ideas' category"); Versata Dev. Grp., Inc. v. SAP Am., Inc., 793 F.3d 1306, 1331

 (Fed. Cir. 2015) (recognizing that application of the abstract idea concept can be difficult, "a

 problem inherent in the search for a definition of an 'abstract idea' that is not itself abstract").

         The Court concludes that "setting up and managing a cloud computing environment"

 does, in fact, amount to an abstract idea. The concept implicates an idea "having no particular

 concrete or tangible form" and that is "devoid of a concrete or tangible application."

 Ultramercial III, 772 F.3d at 715; see also Intellectual Ventures   L LLC v. Motorola Mobility
 LLC, 81 F. Supp. 3d 356, 366 (D. Del. 2015) (describing the abstract idea at issue as

 "distributing software updates to a computer" and finding that the claims at issue were directed to

 this idea).

         From here, can it be said that claim 1 is "directed to" this abstract idea? A recent


                                                   13
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 14 of 34 PageID #: 629



 decision from the Federal Circuit sheds light on how to assess this question. In Internet Patents

 Corp. v. Active Network, Inc., 790 F.3d 1343 (Fed. Cir. 2015), the Federal Circuit applied step

 one of Alice, considering the claims "in their entirety to ascertain whether their character as a

 whole is directed to excluded subject matter." Id at 1346. With this approach in mind, the

 Federal Circuit attacked Alice's step one by looking to the patent specification's description of

 the invention in order to "ascertain[] the basic character of the subject matter" of the patent. Id

 at 1348. The Internet Patents Court identified "the character of the claimed invention" at issue

 as "the idea of retaining information in the navigation of online forms[,]" due to a statement in

 the specification that "[t]he most important aspect of ... the present invention is ... that it

 maintains data state across all [browser] panes [containing data inputted by a user]." Id (citation

 omitted). Chief Judge Stark has also relied on this form of analysis from Internet Patents in

 assessing Alice's first step, see Execware, 2015 WL 5734434, at *4, and so will the Court here. 8

        In doing so, the Court concludes that the claim is directed to the abstract idea at issue, as

 "setting up and managing a cloud computing environment" really does amount to the "basic

 character" of the patent's subject matter. Were that not evident from the content of claim 1

 itself, 9 it would be understood by reading the patent's specification, which, in describing what the


               See also Affinity Labs of Texas, LLC v. DirecTV, LLC, 109 F. Supp. 3d 916, 924-
 25 (W.D. Tex. 2015) (citing Internet Patents and assessing whether the "basic character" of the
 patent amounted to an abstract idea); see also Intellectual Ventures I LLC v. Capital One Fin.
 Corp., -F. Supp. 3d-, 2015 WL 5165442, at *2 (D. Md. Sept. 2, 2015) (same).
        9
                 The language of the claim manifests what the Court believes to be the claim's
 "basic character." The claim is infused with broad, functional language that describes a process
 by which a cloud computing environment is initiated, monitored and adjusted. This is seen in the
 description of the process of determining an initial cloud computing environment based on user
 specifications (step 1), establishing that environment with the desired functionality (steps 2 and
 3), and subsequently monitoring the environment in order to make beneficial changes (steps 4-6).

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 15 of 34 PageID #: 630



 patent is all about, consistently uses the same broad phraseology-that referring to methods,

 systems and devices for management of a cloud computing environment. (See, e.g., '974 patent

 at Abstract ("Methods, devices, and systems for management of a cloud computing environment

 for use by a software application."); id., col. 1:6-10 ("The present methods, devices, and systems

 relate generally to the fields of computers, information technology, virtualization, and cloud

 computing. More particularly, the present methods, devices, and systems relate to management

 of a cloud computing environment for use by a software application."))

        In the portion of its briefing addressing Alice's step one, Plaintiff makes two basic

 arguments in an attempt to show why claim 1 does not fail Alice's first step. (D .I. 26 at 11)

 Neither were persuasive to the Court.

        First, Plaintiff notes that "each independent claim of the '974 patent restricts the field of

 invention to a cloud computing environment" and is "particular to the management of cloud

 computing systems[,]" such that the patent's claims cannot be said to be directed to "a

 longstanding commercial practice of the type at issue in Alice[.]" (Id.; see also Tr. at 61)

 Plaintiffs position here seems to be that "[m]anagement of cloud computing environments

 [have] only recently emerged as a technological innovation[,]" and are not as "longstanding" a

 commercial practice as other forms of computing system or resource management. (D.I. 26 at

 11-12) But nowhere have courts concluded that a patent claim cannot be directed to an abstract

 idea if the claim relates to a field that is of somewhat recent vintage. Cf Internet Patents, 790

 F.3d at 1348 (concluding that the "idea of retaining information in the navigation of online

 forms" is abstract); Cloud Satchel, LLC v. Amazon.com, Inc., 76 F. Supp. 3d 553, 562-63 (D.

 Del. 2014) (finding that a claim was directed at its "core" to the "abstract idea of cataloguing


                                                  15
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 16 of 34 PageID #: 631



 documents to facilitate their retrieval from storage in the field of remote computing"). The

 overriding question at step one is whether the claim is directed to an idea that lacks a concrete or

 tangible form-and both "setting up and managing a computing environment" and "setting up

 and managing a cloud computing environment" would easily fit that bill.

        Second, Plaintiff asserts that "the claimed technology necessitates the use of discrete

 computer hardware and software components configured to enable performance of the specified

 functions carried out in the context of managing cloud computing networks." (D.I. 26 at 12)

 However, in its briefing, Plaintiff did not explain what language in claim 1 referred to the

 aforementioned "discrete hardware and software components[.]" At oral argument, the Court

 repeatedly pressed Plaintiffs counsel on this point, asking counsel to identify where, in the

 claim, such components were said to be found and what they were said to require. (Tr. at 57-59,

 67-69) Plaintiffs counsel eventually replied that there was "specific hardware" that was

 "implied" in claim 1 through the claim's references to a "cloud environment" or an "N-tier

 computing environment." (Id. at 67-68) But counsel provided no further articulation as to what

 "specific hardware" it was referring to, or why any "implied" reference to such hardware would

 alter the step one analysis the Court has set out above. (Id.) 10 In its step two analysis, the Court

 will further assess these claim terms and what impact they have on the question of patent

 eligibility. But for now, in light of the claim's and the specification's focus on the general



        10
                Defendants, for their part, originally contended that claim 1 does not even require
 a computer, as "the steps can all be carried out by a human" operator. (See, e.g., D.I. 20 at 7-8,
 12) Plaintiff disagreed and asserted that the claims cannot be performed by a human alone. (D.I.
 18 at~ 20; Tr. at 73) In light of that disagreement, the Court will adopt Plaintiffs proposed
 "construction," as even Defendants agree it must for purposes ofresolving these Motions. (Tr. at
 36-37, 73)

                                                   16
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 17 of 34 PageID #: 632



 process of setting up and managing a cloud computing environment, the Court need only

 conclude that any particularity conveyed by these terms would not alter its conclusion that the

 abstract idea at issue connotes the "basic character" of the claim. Internet Patents, 790 F.3d at

 1348; cf Cloud Satchel, 76 F. Supp. 3d at 562-63 (finding that the "length or specificity of the"

 representative claim, which related to the "abstract concept of' storage and retrieval of electronic

 documents[,]"' did not "prevent the claim[] from fundamentally reciting an abstract idea where,

 as here, the claim language does nothing more than describe the contours of the cataloguing

 process").

        Under the analysis set out above, claim 1 is directed to an abstract idea.

                2.     Alice's Step Two

        Step two of the Alice framework asks whether the claims contain an "inventive concept,"

 meaning "an element or combination of elements that is sufficient to ensure that the patent in

 practice amounts to significantly more than a patent upon the [ineligible concept] itself." Alice,

 134 S. Ct. at 2355 (internal quotation marks and citation omitted). The purpose of the "inventive

 concept" requirement is to "ensure that the claim is more than a drafting effort designed to

 monopolize the abstract idea." Alice, 134 S. Ct. at 2357 (internal quotation marks, citation, and

 brackets omitted).

        Neither "limiting the use of an abstract idea to a particular technological environment[,]"

 nor simply stating an abstract idea and adding the words "apply it with a computer[,]" will

 transform an abstract idea into a patent-eligible invention. Id. at 2358 (internal quotation marks

 and citations omitted). And the additional elements within the claim, apart from the abstract idea

 itself, must involve more than "'well-understood, routine, conventional activit[ies]' previously


                                                  17
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 18 of 34 PageID #: 633



 known to the industry." Id. at 2359 (quoting Prometheus, 132 S. Ct. at 1294); see also

 Prometheus, 132 S. Ct. at 1300 ("[S]imply appending conventional steps, specified at a high

 level of generality, to ... abstract ideas cannot make those ... ideas patentable."). The Alice

 Court held that, based on these principles, "the mere recitation of a generic computer cannot

 transform a patent-ineligible abstract idea into a patent-eligible invention." Alice, 134 S. Ct. at

 2358. "Given the ubiquity of computers," it said, "wholly generic computer implementation is

 not generally the sort of' additional featur[ e]' that provides any 'practical assurance that the

 process is more than a drafting effort designed to monopolize the [abstract idea] itself."' Id

 (quoting Prometheus, 132 S. Ct. at 1297).

                          a.     Claim 1 Lacks an Inventive Concept

           With these principles in mind, the Court concludes that claim 1 lacks the requisite

 element or combination of elements that would be sufficient to ensure that the claim amounts to

 something more than the abstract idea of "setting up and managing a cloud computing

 environment[.]" Claim 1, on its face, does not appear to specify any meaningful, particularized

 technological or procedural limitations on that idea. ('974 patent, col. 18:44-67) Put another

 way, the words of claim 1 appear to contain almost "no restriction on how" the claim's six

 "determining," "sending" or "receiving" steps are to be accomplished; the claim simply appears

 to "describe[] the [sought-after] effect or result" of the steps. Internet Patents, 790 F.3d at 1348;

 see also Loyalty Conversion
                          .
                             Sys. Corp., 66
                                         .
                                            F. Supp. 3d at 838 (finding a claim to be patent

 ineligible where it invoked "a purely functional limitation[, but] neither the limitation nor

 anything in the specification provides any detail as to how that function is performed"); (Tr. at

 16-17).


                                                   18
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 19 of 34 PageID #: 634



        Neither does the patent's specification suggest that the claim's limitations are infused

 with any meaningful particularity. Instead, for example, the specification continually emphasizes

 that no particular hardware or software are required to carry out the claimed management

 process:

                The present embodiments are not limited to the architecture of FIG.
                4 or 5. For example, any suitable processor-based device may be
                utilized including without limitation, ... personal data assistants
                (PDAs), computer game consoles, and multi-processor servers.
                Moreover, the present embodiments may be implemented on
                application specific integrated circuits (ASIC) or very large scale
                integrated (VLSI) circuits. In fact, persons of ordinary skill in the
                art may utilize any number of suitable structures capable of
                executing logical operations according to the described
                embodiments.

 ('974 patent, cols. 11 :60-12:3) The patent goes on to state that:

                Some (up to all) of the steps described in the sections above may be
                implemented using a computer having a processor (e.g. one or more
                integrated circuits) programmed with firmware and/or running
                software. Some (up to all) of the steps described in the sections
                above may be implemented using a distributed computing
                environment, which is one example of a computer system. Some
                (up to all) of the steps described in the sections above may be
                implemented using a virtual computer system (a virtual machine),
                where the virtual computer environment does not have a one-to-one
                correspondence with a physical computer environment.

 (Id., col. 16:43-54) Using generic computing technology to practice the abstract idea is

 insufficient to make claim 1 patent eligible. Cf Alice, 134 S. Ct. at 2358 ("[I]f a patent's

 recitation of a computer amounts to a mere instruction to implement an abstract idea on ... a

 computer ... that addition cannot impart patent eligibility.") (internal quotation marks, brackets

 and citation omitted); see also (D.I. 20 at 14 (Defendants asserting that "claim 1 amounts to

 nothing significantly more than an instruction to apply the abstract idea of setting up and


                                                  19
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 20 of 34 PageID #: 635



 managing a computing environment using some unspecified, generic software.")).

                        b.      Plaintiff's Contrary Arguments are Unavailing

         Thus, after assessing claim 1 pursuant to the Alice step two analysis, the Court has come

 to the conclusion that the claim does not contain an inventive concept. But as part of this

 process, it has also repeatedly looked to Plaintiff-both in the briefing and at oral argument-and

 asked Plaintiff to point out why that conclusion is not correct. Plaintiff did make several

 arguments in this regard. But as the Court will set out below, it has found those arguments to

 either be clearly insufficient under the law, or to be so underdeveloped that the Court could not

 meaningfully assess the strength of the argument in the first place.

                                1.      "Cloud environment" and "N-tier computing
                                        environment"

         First, as previously noted, Plaintiff suggested for the first time at oral argument that claim

 1 contains reference to particular hardware or software components that are necessary to the

 claimed method and that bear on the question of eligibility. (Tr. at 57-58, 67-69) Specifically,

· Plaintiff pointed to the claim's "implied" reference to "specific hardware" through the use of the

 terms "cloud environment" or "N-tier computing environment." (Id at 67-68) Yet Plaintiff said

 little more than this. For example, Plaintiff was unable: (1) to articulate what "specific

 hardware" is said to be associated with such terms; (2) to provide any plausible claim

 construction for the terms that included reference to such hardware; or (3) to give any other

 indication as to why the claim's use of the two terms suggests the presence of the requisite

 inventive concept. (Id. at 68-70) 11 If a defendant brings a Rule 12 motion that appears at first


         11
                 Indeed, when asked at an earlier point in oral argument what was Plaintiffs view
 of the definition of an "N-tier comput[ing] environment[,]" Plaintiffs counsel said that a "tier" is

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 21 of 34 PageID #: 636



 blush to be meritorious, in order to justify denial of that motion, the Court will often look to rely

 on specific arguments from the respondent that help explain why such a denial is warranted.

 Plaintiff failed to provide that here with regard to the claim's use of these two terms. 12

                                2.      The Second Amended Complaint's Allegations
                                        Regarding the Existence of an Inventive Concept

         Plaintiff next argues that the Second Amended Complaint ("SAC") in Civil Action No.

  14-1193-LPS-CJB alleges facts demonstrating that the '974 patent contains an inventive

 concept-and that these allegations, when credited, should suffice to withstand the Motions.

 (D.I. 26 at 14-15) Plaintiff refers here in significant part to the allegations in paragraphs 15, 16,

 and 17 of the SAC. 13

         Paragraph 15 states that the '974 patent "provides an inventive concept and does not claim




 a "logical grouping of implements directed to a general-type functionality," and that "N-tier"
 simply refers to "one or more tiers." (Tr. at 42-43 (emphasis added); see also '974 patent, col.
 5:28-30)
         12
                 It is worth noting that in a related action involving the '974 patent, Plaintiff
 submitted proposed claim constructions of these two terms in a Joint Claim Construction Chart.
 (D.I. 69 at 1-4, Civil Action No. 14-353-LPS) There, Plaintiff proposed that a "cloud
 environment" means "potentially accessible resources such as datacenters and/or other
 information technology-related capabilities operated by a cloud provider[.]" (Id. at 1 (citing '974
 patent, cols. 1:21-29, 5:52-6:2, 9:1-5 & FIG. 1)) It also jointly agreed with the defendant in the
 case that an "N-tier computing environment" is "a computing environment with one or more
 tiers" and that a "tier" is a "logical grouping of components directed to a general type of
 functionality[.]" (Id. at 3-4) Nothing in these proffered constructions suggests to the Court that
 these two terms implicate anything other than wholly generic computer technology, or that such
 generic technology is said to work together with regard to the method at issue in a way that
 demonstrates the existence of an inventive concept.
         13
                Plaintiff also makes reference to the allegations in paragraphs 18 and 19 of the
 SAC. (D.I. 26 at 15-16) These allegations relate to the issue of preemption, a subject the Court
 takes on more specifically in subsection III.B.2.b.3. Thus, the Court will address those
 paragraphs of the SAC more particularly in that subsection.

                                                  21
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 22 of 34 PageID #: 637



 an abstract idea[]" and then (citing to the patent's specification) asserts that the patent

 "improv[es] the function of a computer system." (D.I. 18 at ii 15) However, the portion of this

 paragraph asserting that the patent "provides an inventive concept and does not claim an abstract

 idea[]" simply amounts to the articulation of a legal conclusion. The remainder of the paragraph,

 in attempting to bolster the assertion that the patent "improv[es] the functioning of a computer

 system" cites to portions of column 1 of the patent's specification. Yet, those portions of column

 1 do not discuss the alleged inventiveness of the method for managing a cloud environment set

 forth in claim 1, nor how such a method purportedly "improv[es] the efficient "functioning" of

 that environment. Instead, they appear to merely summarize, in a very general way, what cloud

 computing is and how cloud computing may be used to "leverage" "[v]irtualization technology"

 or "virtual servers[.]" ('974 patent, col. 1:12-15, 22-26 & 27-30 (cited in D.I. 18 at ii 15)) The

 Court does not see how touting the benefits of cloud computing generally can amount to

 sufficient support for Plaintiff's argument that the patent's claims contain an inventive concept. 14

        Plaintiff next claims that paragraphs 16 and 17 of the SAC "specifically identify the

 components of the claimed system" that demonstrate the existence of the requisite inventive

 concept. (D.I. 26 at 15) Paragraph 16, however, simply states that a "key and inventive

 component of the '97 4 patent is the claimed management system, methods, and devices for

 managing a cloud computing environment to ensure reliability and optimal performance." (D.I.

 18 at ii 16) This, again, really amounts to little more than the articulation of a bare legal


        14
               Put differently, the fact that (as Plaintiffs counsel asserted at oral argument) cloud
 computing may be more beneficial than a "traditional infrastructure"-based approach to
 managing data (due, for example, to the fact that it is "less expensive than the traditional
 approach"), (Tr. at 43-45), has very little to do with whether the particular method for setting up
 and managing a cloud computing environment set out in claim 1 passes muster under Alice.

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 23 of 34 PageID #: 638



 conclusion, devoid of plausible factual support. In other words, the SA C's drafter simply

 included an assertion about what the patent covers at a general level ("the claimed management

 system, methods and devices for managing a cloud computing environment") and then christened

 this a "key and inventive component[]" due to unspecific assertions regarding the patent's impact

 on "reliability" or "performance."

        As for paragraph 17, it simply states that the "claims of the '974 patent set forth the

 primary requirements of the" systems, methods and devices described in the patent, and then

 appears to re-state the language found in claim 13 of the '974 patent. (Id. at if 17 (citing '974

 patent, col. 20:12-36)) Claim 13 is a system claim (a "system for managing a cloud computing

 environment"). It states that the requisite system comprises a processor in communication with a

 memory, with the processor being configured to execute certain steps-the very same steps

 described in claim 1's method claim. Re-arranging the words of claim 13 and including them in

 paragraph 17 of the SAC is not the same thing as pleading facts making out a plausible claim of

 patent eligibility. Moreover, neither paragraph 17 nor Plaintiffs briefing articulates how the

 addition of the processor in claim 13 would change the eligibility analysis that the Court has set

 out above as to claim 1. 15


         15
                 In its briefing and again at oral argument, Plaintiff cited to an order of the United
 States District Court for the Middle District of North Carolina in Genetic Techs. Ltd. v.
 GlaxoSmithkline, LLC, Case No. 1:12-CV-299-CCE-JLW (M.D.N.C. Aug. 22, 2014) ("Genetic
 Techs."), in support of the proposition that the "well-supported allegations in its complaint must
 be taken as true on a motion to dismiss and are a basis for denying Defendants' motion[s.]" (D.I.
 26 at 15; Tr. at 85) The Genetic Techs. Court determined that the complaint at issue had alleged
 "some facts which at least inferentially support th[e] allegation" that "the methods of the patents
 were neither routine nor conventional[,]" and thus denied a motion to dismiss filed on Section
 101 grounds. (D.I. 26, ex.Bat 2-3) As an initial matter, it is worth noting that in a case in this
 Court, Chief Judge Stark granted a motion to dismiss, on Section 101 grounds, claim 1 of the
 same patent that was at issue in Genetic Techs. (United States Patent No. 5,612,179). See

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 24 of 34 PageID #: 639



        For these reasons, the Court does not find the content of paragraphs 15-17 of the SAC to

 demonstrate the existence of a factual dispute that requires denial of the Motions.

                                3.      Preemption

        Plaintiff next argues that the '974 patent's claims were not "a drafting effort to

 monopolize the abstract idea" of setting up and managing a cloud computing environment, and

 do not unduly preempt all ways of doing so. (D.I. 26 at 15) In assessing preemption arguments

 like these, courts are mindful that the focus of Alice's step 2 is not whether a claim containing an

 abstract idea preempts an entire field. Instead, a court assesses whether a claim "would risk

 disproportionately tying up the use of the underlying ideas[.]" Alice, 134 S. Ct. at 2354-55

 (internal quotation marks and citation omitted); see also Ariosa Diagnostics, Inc. v. Sequenom,

 Inc., 788 F.3d 1371, 1379 (Fed. Cir. 2015) ("While preemption may signal patent ineligible

 subject matter, the absence of complete preemption does not demonstrate patent eligibility.").

 The Alice Court explained that "patents that claim the building blocks of human ingenuity" risk

 such preemption, whereas claims "that integrate the building blocks into something more ...

 pose no comparable risk[.]" Alice, 134 S. Ct. at 2354-55 (internal quotation marks, brackets and

 citations omitted); see, e.g., Diehr, 450 U.S. at 187 ("Rather, they seek only to foreclose from

 others the use of that equation in conjunction with all of the other steps in their claimed


 Genetic Techs. Ltd v. Bristol-Myers Squibb Co., 72 F. Supp. 3d 521, 531-34, 538 n.19 (D. Del.
 2014). The basis for Chief Judge Stark's decision was that the patentee there failed to separate
 the unpatentable natural law referenced in the claim from a purportedly unconventional
 amplification technique also described in the claim. Id. at 532-33. And so, the level of detail in
 the relevant Genetic Techs. complaint may not have made a legal difference to the District Court
 here. But separate and apart from that, it is also worth noting that the Genetic Techs. complaint
 contains a far greater number of factual allegations regarding the asserted presence of an
 inventive concept, as compared to the allegations in the SAC here. (See Genetic Techs., D.I. 73
 at~~ 15, 17, 23, 27-28, 29-30, 32)

                                                  24
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 25 of 34 PageID #: 640



 process.").

        In assessing Plaintiffs arguments here, it is important to start by again recognizing that

 claim 1 is saturated with references to broad, generalized steps, which appear on their face to

 require the implementation of basic computer functions. For example, steps 2, 3, and 6 recite the

 "sending" of information (i.e., an "initialization event[,]" "application data[,]" and a "cloud

 environment adjustment event"), while step 4 recites the receiving of information (i.e.,

 "monitoring environment data"). ('974 patent, 18:50-58, 63-67) These acts of sending and

 receiving data would appear to be necessary to set up and manage almost any computing

 environment, including one involving cloud computing. 16 Steps 1 and 5 similarly require the

 "determining" of either an "initial cloud environment" or an "adjusted cloud environment[.]"

 (Id., col. 18:46-49, 59-62) Here again, reciting the step of "determining," without describing a

 sufficiently specific way of doing the "determining," would be simply to claim a well-known,

 generic function of computers. See OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1363

 (Fed. Cir. 2015) (concluding that "using a computerized system ... to automatically determine

 an estimated outcome and setting a price" was well-understood, routine, and conventional

 activity) (internal quotation marks and citation omitted).



        16
                See Ultramercial III, 772 F.3d at 717 (determining that "the transfer of content
 between computers is merely what computers do and does not change the analysis" for purposes
 of the machine-or-transformation test); buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed.
 Cir. 2014) ("That a computer receives and sends the information over a network-with no further
 specification-is not even arguably inventive."); see also Cloud Satchel, 76 F. Supp. 3d at 564
 ("Although the court understands plaintiffs argument that the steps of 'transmitting' and
 'receiving' may not have been conventional practices in the field of computing [at] the time of
 invention, these steps nonetheless do nothing more than recite functions that can be achieved by
 any general purpose computer without special programming.") (internal quotation marks and
 citation omitted).

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 26 of 34 PageID #: 641



        It is true that the claim does make reference to (1) determining a requested initial cloud

 environment based on certain "user-defined provisioning information"; and to (2) receiving

 certain "monitoring environment data" representing the cloud environment state, which is then

 used to determine an adjusted cloud environment. ('974 patent, col. 18:46-49, 59-62) Yet

 Plaintiff did not clearly suggest that inclusion of either of these two terms adds sufficient

 particularity to the claim. For example, in its briefing, Plaintiff never specifically mentions either

 term. It does at one point cite in its brief to paragraph 18 in the SAC-a paragraph that does

 include reference to the term "monitoring environment data." (D.I. 26 at 15) But neither

 Plaintiffs brief nor paragraph 18 includes any actual argument or explanation as to why the

 claim's use of this term moves the needle for Section 101 purposes. Then at oral argument, for

 the first time, Plaintiff briefly suggested that the claim's use of the other term-"user-defined

 provisioning information"-may be relevant to the Court's Section 101 analysis. (Tr. at 88

 ("Well, the determination based on the user-defined provisioning information, there's an

 appendix in Column 17 and 18 of the patent that shows an example of code used for the user to

 find provision information [i.e., an example of a configuration file].")) But Plaintiffs counsel

 did not proffer any construction for that term, or explain its position further. And in looking to

 how the patent describes "user-defined provisioning information," the breadth of the term seems

 readily apparent. The specification explains that such information "include[s,}" but is not

 limited to, information including "geographic preference ... service level requirements ...

 pricing information, tier definitions ... security requirements ... audit/backup requirements ...

 and special monitoring/alert requests." ('974 patent, col. 6:40-52; see also id, col. 6:53-55 ("[A]

 configuration file may comprise all or a portion of the user-defined provisioning il).formation. ")


                                                  26
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 27 of 34 PageID #: 642



 (emphasis added)) 17 Without anything more from Plaintiff as to why the presence of these two

 terms in claim 1 merits denial of Defendants' Motions (or why claim construction is required as

 to these terms), the Court does not see how denial is warranted as to this claim.

        There are at least two other strands of argument that Plaintiff made relating to the issue of

 preemption. The Court addresses these below.

        First, Plaintiff asserts that it has pleaded that Defendants "can set up and manage

 computer environments without infringing the '974 patent." (D.I. 26 at 15) In support, Plaintiff

 cites the SAC, which identifies one specific alternative for setting up and managing a [cloud]

 comput[ing] environment: "additional resources can simply be allocated in the first instance,

 allowing for expansion of the application without adjusting the cloud environment." (D.I. 18 at~

 18 (cited in D.I. 26 at 15)) Taken as true, this allegation in the SAC, at the very most, establishes

 that claim 1 may not preempt an entire field. But that is not the appropriate focus here, as

 avoiding complete preemption is not the standard. Alice, 134 S. Ct. at 2354-55; see also Ariosa

 Diagnostics, 788 F.3d at 1379; Tenon & Groove, LLC v. Plusgrade S.E.C., C.A. No. 12-1118-

 GMS-SRF, 2015 WL 1133213, at *4 (D. Del. Mar. 11, 2015) ("Leaving open some avenues with

 which to practice the underlying idea, however, does not guarantee patent eligibility."); Money

 Suite Co. v. 21st Century Ins. & Fin. Servs, Inc., C.A. No. 13-984-GMS, 2015 WL 436160, at *5

 (D. Del. Jan. 27, 2015) ("The availability of other possible computer-implemented

 methods--ones not using front-end network gateways-also does not assuage fears of blocking


        17
                 For what it is worth, the patent also describes what "monitoring environment
 data" is in similarly broad terms. The patent states that "[m]onitoring data 230 may include, for
 example, data relating to CPU utilization, memory utilization, I/O utilization, [] other
 performance-related criteria[,]" and "security information[.]" ('974 patent, col. 8:40-48
 (emphasis added))

                                                  27
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 28 of 34 PageID #: 643



 further innovation."). Instead, the focus is on whether the claim risks "disproportionately tying

 up the use of the underlying" abstract idea. Alice, 134 S.Ct. at 2354 (internal quotation marks

 and citation omitted). The Court is not persuaded that Plaintiffs reference in the SAC to a single

 other example of how one might set up·and manage a cloud computing environment warrants

 denial of Defendants' Motions.

         Second, Plaintiff points to the issuance of the '974 patent over cited prior art, asserting

 this "indicates that there is no issue of preemption"-i.e., that the '974 patent presented a much

 narrower solution for the management of a cloud computing environment than that called for in

 the prior art. (D.I. 26 at 2, 15; see also D.I. 18   at~   19) In its briefing or in the SAC, however,

 Plaintiff said nothing more about what prior art, in particular, it was referring to. Nor did

 Plaintiff say anything about why any aspect of that prior art would help demonstrate that what is

 recited in claim 1 is but a narrow portion of the universe of methods for setting up and managing

 a cloud computing environment. At oral argument, the Court asked Plaintiff to provide

 additional insight as to what aspects of the prior art were relevant here, but Plaintiff did not do so

 with any specificity. (Tr. at 76-80) Again, in order to understand why there is a basis to deny

 Defendants' Motions as to the "prior art" argument, the Court looks to the respondent to make

 the case in its briefing and at oral argument-to use those opportunities to point out what it is

 about the prior art that demonstrates the existence of a relevant fact issue regarding preemption.

 In the absence of such explanation, the Court does not have a basis here to find that there are a

 set of facts that could be proven relevant to preemption that would result in a determination that

 the claim is patent eligible. See Cronos, 2015 WL 5234040, at *2.

                3.       Conclusion


                                                      28
Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 29 of 34 PageID #: 644



        Claim 1 is patent-ineligible under the Alice test, as it is directed to an abstract idea and

 fails to contain an inventive concept.

        C.      The Remaining Claims

        Defendants assert that the remaining independent claims--claims 13, 24, and 35-are

 substantially identical to independent claim 1. (D.I. 20 at 18-19) Defendants also argue that the

 dependent claims--claims 2-12, 14-23, 25-34, and 36-45-"either detail a specific application of

 the management techniques enumerated in the independent claims or add admittedly well-known

 steps to those claims." (Id at 4-5; see also id at 19) In assessing the eligibility of the remaining

 patent claims, the Court will   co~sider   the factors, previously set out above in Section II.C, that

 the Cronos Court found to be relevant in undertaking such a review.

                1.      The independent claims

         The Court first assesses the remaining independent claims. Defendants did address each

 of these claims individually in their briefing. (D.I. 20 at 18-19)

        The first Cronos consideration is whether claim 1 adequately represents these three

 claims-that is, whether "all of the challenged claims relate to the same abstract idea and

 [whether] any of the non-representative claims add one or more inventive concepts that would

 result in patent eligibility[.]" Cronos, 2015 WL 5234040, at *2 (certain emphasis in original).

 Here, the Court can conclude that claim 1 is representative of claims 13, 24 and 35.

        Claim 13 is a system claim that, as was previously noted, adds the use of a processor in

 communication with a memory, where the "memory stores processor-executable program code;

 and the processor is configured to be operative in conjunction with the processor-executable

 program code" to perform the steps of claim 1. ('974 patent, col. 20:8-36) Defendants assert that


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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 30 of 34 PageID #: 645


 these added limitations amount to the grafting of "conventional and generic computer hardware"

 onto what is called for by claim 1, which cannot amount to the inclusion of an inventive concept.

 (D.1. 20 at 18); see also Alice, 134 S. Ct. at 2360 (finding the system claims to be "no different

 from the method claims in substance" as the system claims simply added "a handful of generic

 computer components configured to implement the same idea"). Plaintiff does not specifically

 counter Defendant's assertion in its briefing. And both the language of claim 13 and the content

 of the specification do not suggest that the claim's inclusion of a "processor" or a "memory" (or

 its reference to the way that the processor operates or that the memory stores code) identifies the

 use of anything beyond the utilization of generic computer technology in a conventional way.

 (See, e.g., '974 patent, col. 11 :22-23 ("CPU 502 may be a general purpose CPU or

 microprocessor"); id., col. 11 :30-32 ("System 10 also may include Random Access Memory

 (RAM) 508, which may be SRAM, DRAM, SDRAM, or the like."); id, col. 11 :60-64 ("The

 present embodiments are not limited to the architecture of FIG. 4 or 5. For example, any suitable

 processor-based device may be utilized including without limitation, including personal data

 assistants (PDAs), computer game consoles, and multi-processor servers."); id, col. 16:43-46

 ("Some (up to all) of the steps described in the sections above may be implemented using a

 computer having a processor (e.g., one or more integrated circuits) programmed with firmware

 and/or running software."))

        Claim 24 is a claim to a "tangible computer readable storage medium having usable

 program code executable to perform operations comprising" the steps of claim 1. (Id, cols.

 21 :46-22:2) The addition here of what Defendants assert (and Plaintiff does not contest) to be

 reference to generic, computer-readable media cannot save the claim from ineligibility, for


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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 31 of 34 PageID #: 646


 substantially the same reasons as those set out above regarding claim 13. See Alice, 134 S. Ct. at

 2353, 2360 (concluding that the addition of a computer-readable medfom containing program

 code for performing the claimed method added nothing of substance to the underlying abstract

 idea).

          Claim 35 requires a "tangible first computer readable storage medium having first

 computer usable program code" that "is executable to install second computer usable program

 code on a second computer readable medium" such that the second computer usable program

 code can perform the steps of claim 1. ('974 patent, col. 23:14-44) Defendants argue, (DJ. 20 at

 19), that this drafting technique capturing the installation of the claimed software on a computer

 simply amounts to '"[pre]-solution activity,' which is also not sufficient to transform an

 otherwise patent-ineligible abstract idea into patent-eligible subject matter." Ultramercial III,

 772 F.3d at 716 (citing Prometheus, 132 S. Ct. at 1298). Plaintiff again does not specifically

 respond, and the Court agrees with Defendant's assertion.

          The next Cronos factor is whether issues of claim construction must be decided before

 resolving a motion. Cronos, 2015 WL 5234040, at *2. As was noted above, although Plaintiff

 has occasionally made reference to an asserted need for claim construction with regard to terms

 used in claim 1, it ultimately either could not articulate how this would make a difference to the

 Court's Section 101 analysis, or it suggested a construction that the Court adopted for purposes

 of its review. As to any additional terms in these three additional independent claims, however,

 Plaintiff has not suggested that claim construction is necessary.

          The final Cronos consideration is whether any set of facts, if proven, would "result in the

 determination that one[] or more of the claims are patent-eligible[.]" Id. Such facts could relate



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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 32 of 34 PageID #: 647



 to questions of preemption, questions of patentability, or whether the claims are directed to a

 technological improvement rather than a generic computer implementation of an abstract idea.

 Id. Plaintiff has not identified any set of facts particular to the unique terms in claims 13, 24, and

 35 that would fit this bill-despite being on notice that Defendants were putting these three

 independent claims squarely at issue. (D.I. 20 at 18-19) The Court takes Plaintiffs silence to

 confirm that claims 13, 24, and 35 do not raise any unique factual issues that would warrant

 postponement of a decision.

        Accordingly, the Court concludes that claim 1 adequately represents claims 13, 24, and

 35, which are similarly directed to patent-ineligible subject matter.

                2.      The dependent claims

        The dependent claims detail certain methods, devices or systems that in some way make

 use of the type of process recited in claim 1. Dependent claims 2-11 involve various

 permutations of the method of claim 1, including, inter alia:

                •       Using a second cloud provider (claim 2); using multiple
                        cloud configurations and initialization events (claim 3) and
                        adjusting such configurations (claim 4);

                •       Using monitoring environment data to forecast future needs
                        (claim 5) and costs (claim 6) (and doing so using "service
                        level agreement" data (claim 7));

                •       Wherein user-defined provisioning information is
                        determined through the use of a needs analysis algorithm
                        (claim 8), or where such information comprises geographic
                        data (claim 9), or comprises service level agreement data
                        (claim 10);

                •       Adjusting the cloud environment using "security
                        information" (claim 11 ).

 The dependent claims for the remaining independent claims mirror claims 2-11. Using the

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 33 of 34 PageID #: 648



 analysis from Cronos, the Court must determine whether claim 1 adequately represents all of

 these remaining independent claims.

        With respect the first Cronos consideration, Defendants assert that claims 2-11 (and the

 remaining dependent claims that mirror them) do nothing to "limit the scope of claim 1 in a way

 that transforms the abstract method of starting and managing a computer environment into a

 patent-eligible invention." (Id at 17; see also id at 19) But even compared with the type of

 analysis Defendants provided with regard to independent claims 13, 24 and 35, Defendants give

 these remaining claims very short shrift. (Id) They do not address these claims on a claim-by-

 claim basis, leaving the Court often to have to apply broad arguments to multiple claims at the

 same time, with limited record support for those arguments. (Id; see also id at 4-5) The Court

 is not prepared to take the significant step of finding such claims ineligible when they are

 addressed in such a cursory manner by the movant in the first instance. The Court takes this

 protective view as to all of the dependent claims, save one.

        That one unique dependent claim is claim 12, which has no analogous claim among the

 remaining dependent claims. Claim 12 simply adds the utilization of what is not disputed to be

 anything other than generic technology (i.e., "a processor, a hardware circuit, or an integrated

 circuit"), in order to perform the "determining a requested initial cloud environment" step of the

 method in claim 1. ('974 patent, col. 20:5-7) Such an addition is clearly insufficient to provide

 an inventive concept. Alice, 134 S. Ct. at 2360. 18




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                 As to claim 12, with respect to the second Cronos factor, Plaintiff has not
 suggested any possible construction that would alter the Court's analysis. And as for the third
 Crorws factor, Plaintiff has not identified any issue of fact that would render a decision on patent
 eligibility premature at this stage.

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Case 1:14-cv-01192-LPS-CJB Document 35 Filed 02/05/16 Page 34 of 34 PageID #: 649



        Consequently, the Court can conclude that claim 1 adequately represents claim 12, which

 is similarly directed to patent-ineligible subject matter. At this point, the Court does not find it

 sufficiently clear from the record that the remaining dependent claims are directed to the abstract

 idea of setting up and managing a cloud computing environment.

 IV.    CONCLUSION

        For the foregoing reasons, the Court concludes that claims 1, 12, 13, 24, and 35 of the

 '974 patent are not eligible for patent protection under 35 U.S.C. § 101. It therefore recommends

 that Defendants' Motions be GRANTED as to those claims. The Court recommends that

 Defendants' Motions be DENIED as to the remaining claims of the '974 patent, without prejudice

 to their ability to later renew the Motions as motions for summary judgment if warranted.

        This Report and Recommendation is filed pursuant to 28 U.S.C. § 636(b)(l)(B), Fed. R.

 Civ. P. 72(b)(l), and D. Del. LR 72.1. The parties may serve and file specific written objections

 within fourteen (14) days after being served with a copy of this Report and Recommendation.

 Fed. R. Civ. P. 72(b). The failure of a party to object to legal conclusions may result in the loss

 of the right to de novo review in the district court. See Henderson v. Carlson, 812 F.2d 874, 878-

 79 (3d Cir. 1987); Sincavage v. Barnhart, 171 F. App'x 924, 925 n.1 (3d Cir. 2006).

        The parties are directed to the Court's Standing Order for Objections Filed Under Fed. R.

 Civ. P. 72, dated October 9, 2013, a copy of which is available on the District Court's website,

 located at http://www.ded.uscourts.gov.


 Dated: February 5, 2016


                                                        Christopher J. Burke
                                                        UNITED STATES MAGISTRATE JUDGE


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